              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                    BRYSON CITY DIVISION

                       CRIMINAL CASE NO. 2:11cr22-2


UNITED STATES OF AMERICA,                )
                                         )
                                         )
                 vs.                     )     ORDER
                                         )
                                         )
WILLIAM ANDREW ESTES.                    )
                                         )

     THIS MATTER is before the Court on the Government’s Motion to

Dismiss Bill of Indictment as to Defendant Estes [Doc. 251].

     For cause shown, the Court will grant the Government’s motion.

     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss Bill of Indictment as to Defendant Estes [Doc. 251] is GRANTED, and

the Bill of Indictment [Doc. 74] filed in the above-captioned case is hereby

DISMISSED WITHOUT PREJUDICE with respect to the Defendant W illiam

Andrew Estes.

     IT IS SO ORDERED.
                                     Signed: May 22, 2012




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